24-10381-jpm   Doc 4-6 Filed 03/14/24 Entered 03/14/24 18:37:25   Exhibit 27-
                Exhibit 30 to Schwartz Declaration Pg 1 of 42
24-10381-jpm   Doc 4-6 Filed 03/14/24 Entered 03/14/24 18:37:25   Exhibit 27-
                Exhibit 30 to Schwartz Declaration Pg 2 of 42
24-10381-jpm   Doc 4-6 Filed 03/14/24 Entered 03/14/24 18:37:25   Exhibit 27-
                Exhibit 30 to Schwartz Declaration Pg 3 of 42
24-10381-jpm   Doc 4-6 Filed 03/14/24 Entered 03/14/24 18:37:25   Exhibit 27-
                Exhibit 30 to Schwartz Declaration Pg 4 of 42
24-10381-jpm   Doc 4-6 Filed 03/14/24 Entered 03/14/24 18:37:25   Exhibit 27-
                Exhibit 30 to Schwartz Declaration Pg 5 of 42
24-10381-jpm   Doc 4-6 Filed 03/14/24 Entered 03/14/24 18:37:25   Exhibit 27-
                Exhibit 30 to Schwartz Declaration Pg 6 of 42
24-10381-jpm   Doc 4-6 Filed 03/14/24 Entered 03/14/24 18:37:25   Exhibit 27-
                Exhibit 30 to Schwartz Declaration Pg 7 of 42
24-10381-jpm   Doc 4-6 Filed 03/14/24 Entered 03/14/24 18:37:25   Exhibit 27-
                Exhibit 30 to Schwartz Declaration Pg 8 of 42
24-10381-jpm   Doc 4-6 Filed 03/14/24 Entered 03/14/24 18:37:25   Exhibit 27-
                Exhibit 30 to Schwartz Declaration Pg 9 of 42
24-10381-jpm   Doc 4-6 Filed 03/14/24 Entered 03/14/24 18:37:25   Exhibit 27-
                Exhibit 30 to Schwartz Declaration Pg 10 of 42
24-10381-jpm   Doc 4-6 Filed 03/14/24 Entered 03/14/24 18:37:25   Exhibit 27-
                Exhibit 30 to Schwartz Declaration Pg 11 of 42
24-10381-jpm   Doc 4-6 Filed 03/14/24 Entered 03/14/24 18:37:25   Exhibit 27-
                Exhibit 30 to Schwartz Declaration Pg 12 of 42
24-10381-jpm   Doc 4-6 Filed 03/14/24 Entered 03/14/24 18:37:25   Exhibit 27-
                Exhibit 30 to Schwartz Declaration Pg 13 of 42
24-10381-jpm   Doc 4-6 Filed 03/14/24 Entered 03/14/24 18:37:25   Exhibit 27-
                Exhibit 30 to Schwartz Declaration Pg 14 of 42
24-10381-jpm   Doc 4-6 Filed 03/14/24 Entered 03/14/24 18:37:25   Exhibit 27-
                Exhibit 30 to Schwartz Declaration Pg 15 of 42
24-10381-jpm   Doc 4-6 Filed 03/14/24 Entered 03/14/24 18:37:25   Exhibit 27-
                Exhibit 30 to Schwartz Declaration Pg 16 of 42
24-10381-jpm   Doc 4-6 Filed 03/14/24 Entered 03/14/24 18:37:25   Exhibit 27-
                Exhibit 30 to Schwartz Declaration Pg 17 of 42
24-10381-jpm   Doc 4-6 Filed 03/14/24 Entered 03/14/24 18:37:25   Exhibit 27-
                Exhibit 30 to Schwartz Declaration Pg 18 of 42
24-10381-jpm   Doc 4-6 Filed 03/14/24 Entered 03/14/24 18:37:25   Exhibit 27-
                Exhibit 30 to Schwartz Declaration Pg 19 of 42
24-10381-jpm   Doc 4-6 Filed 03/14/24 Entered 03/14/24 18:37:25   Exhibit 27-
                Exhibit 30 to Schwartz Declaration Pg 20 of 42
24-10381-jpm   Doc 4-6 Filed 03/14/24 Entered 03/14/24 18:37:25   Exhibit 27-
                Exhibit 30 to Schwartz Declaration Pg 21 of 42
24-10381-jpm   Doc 4-6 Filed 03/14/24 Entered 03/14/24 18:37:25   Exhibit 27-
                Exhibit 30 to Schwartz Declaration Pg 22 of 42
24-10381-jpm   Doc 4-6 Filed 03/14/24 Entered 03/14/24 18:37:25   Exhibit 27-
                Exhibit 30 to Schwartz Declaration Pg 23 of 42
24-10381-jpm   Doc 4-6 Filed 03/14/24 Entered 03/14/24 18:37:25   Exhibit 27-
                Exhibit 30 to Schwartz Declaration Pg 24 of 42
24-10381-jpm   Doc 4-6 Filed 03/14/24 Entered 03/14/24 18:37:25   Exhibit 27-
                Exhibit 30 to Schwartz Declaration Pg 25 of 42
24-10381-jpm   Doc 4-6 Filed 03/14/24 Entered 03/14/24 18:37:25   Exhibit 27-
                Exhibit 30 to Schwartz Declaration Pg 26 of 42
24-10381-jpm   Doc 4-6 Filed 03/14/24 Entered 03/14/24 18:37:25   Exhibit 27-
                Exhibit 30 to Schwartz Declaration Pg 27 of 42
24-10381-jpm   Doc 4-6 Filed 03/14/24 Entered 03/14/24 18:37:25   Exhibit 27-
                Exhibit 30 to Schwartz Declaration Pg 28 of 42
24-10381-jpm   Doc 4-6 Filed 03/14/24 Entered 03/14/24 18:37:25   Exhibit 27-
                Exhibit 30 to Schwartz Declaration Pg 29 of 42
24-10381-jpm   Doc 4-6 Filed 03/14/24 Entered 03/14/24 18:37:25   Exhibit 27-
                Exhibit 30 to Schwartz Declaration Pg 30 of 42
24-10381-jpm   Doc 4-6 Filed 03/14/24 Entered 03/14/24 18:37:25   Exhibit 27-
                Exhibit 30 to Schwartz Declaration Pg 31 of 42
24-10381-jpm   Doc 4-6 Filed 03/14/24 Entered 03/14/24 18:37:25   Exhibit 27-
                Exhibit 30 to Schwartz Declaration Pg 32 of 42
24-10381-jpm   Doc 4-6 Filed 03/14/24 Entered 03/14/24 18:37:25   Exhibit 27-
                Exhibit 30 to Schwartz Declaration Pg 33 of 42
24-10381-jpm   Doc 4-6 Filed 03/14/24 Entered 03/14/24 18:37:25   Exhibit 27-
                Exhibit 30 to Schwartz Declaration Pg 34 of 42
24-10381-jpm   Doc 4-6 Filed 03/14/24 Entered 03/14/24 18:37:25   Exhibit 27-
                Exhibit 30 to Schwartz Declaration Pg 35 of 42
24-10381-jpm   Doc 4-6 Filed 03/14/24 Entered 03/14/24 18:37:25   Exhibit 27-
                Exhibit 30 to Schwartz Declaration Pg 36 of 42
24-10381-jpm   Doc 4-6 Filed 03/14/24 Entered 03/14/24 18:37:25   Exhibit 27-
                Exhibit 30 to Schwartz Declaration Pg 37 of 42
24-10381-jpm   Doc 4-6 Filed 03/14/24 Entered 03/14/24 18:37:25   Exhibit 27-
                Exhibit 30 to Schwartz Declaration Pg 38 of 42
24-10381-jpm   Doc 4-6 Filed 03/14/24 Entered 03/14/24 18:37:25   Exhibit 27-
                Exhibit 30 to Schwartz Declaration Pg 39 of 42
24-10381-jpm   Doc 4-6 Filed 03/14/24 Entered 03/14/24 18:37:25   Exhibit 27-
                Exhibit 30 to Schwartz Declaration Pg 40 of 42
24-10381-jpm   Doc 4-6 Filed 03/14/24 Entered 03/14/24 18:37:25   Exhibit 27-
                Exhibit 30 to Schwartz Declaration Pg 41 of 42
24-10381-jpm   Doc 4-6 Filed 03/14/24 Entered 03/14/24 18:37:25   Exhibit 27-
                Exhibit 30 to Schwartz Declaration Pg 42 of 42
